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 5

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 7
                           UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10   ANTHONY SHELTON, an               Case No.
     individual California resident,
11
     and the proposed class,           COMPLAINT FOR:
12                                     1. VIOLATION OF THE FAIR LABOR
13
                  Plaintiff                STANDARDS ACT (FLSA 29 USC § 201,
                                           et seq.)
14                   v.                2. FAILURE TO PAY WAGES, LABOR
15                                         CODE §§ 1194, 1997, 1197.1
     PARAMOUNT PICTURES                3. FAILURE TO PAY OVERTIME WAGES
16   CORPORATION, a Delaware           4. WAGE STATEMENT VIOLATIONS
17   corporation, PATRIOT              5. FAILURE TO PAY WAGES OF
     STAFFING AND SERVICES,                TERMINATED OR RESIGNED
18   LLC, a company of unknown             EMPLOYEES
19   form, and DOES 1-10,              6. UNFAIR BUSINESS PRACTICES (BUS.
     inclusive,                            & PROF. CODE §§ 17200-17208);
20
                                       7. INJUNCTION
21               Defendants.           8. VIOLATION OF THE PRIVATE
                                           ATTORNEYS GENERAL ACT (Labor
22
                                           Code Section 2698 et seq.)
23

24
                                        DEMAND FOR JURY TRIAL

25

26

27

28

                                             1                      ____________
     COMPLAINT
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 1         Plaintiff Anthony Shelton, (hereinafter “Plaintiff”) on behalf of himself and
 2   the proposed class, brings the following causes of action against Defendants.
 3
                                  I.     THE PARTIES
 4

 5        A.     The Plaintiff
 6
          1.     Plaintiff Anthony Shelton is a resident of Long Beach, California. At
 7
     all relevant times herein, Plaintiff was employed by Defendants as a Information
 8
     Technology Technician at Paramount Pictures.
 9
           B.    The Defendants
10
          2.     Defendant, Paramount Pictures Corporation (herein after
11
     “Paramount”), is a Delaware corporation with its corporate office in New York,
12
     New York, that owns and operates, and does business in California. Defendants
13
     have offices and regularly and systematically do business in Los Angeles County.
14
          3.     Defendant, Patriot Staffing and Services, LLC (herein after
15
     “Patriot”), is a California corporation company of unknown form that that owns
16
     and operates, and does business in California. Defendants have offices in
17

18
     Metuchen, New Jersey and regularly and systematically do business in Los

19
     Angeles County.

20
          4.     Plaintiff alleges he was jointly employed by Defendants.

21        5.     At all times mentioned herein, each of the Defendants participated in

22   the doing of the acts alleged to have been done by the named Defendants as

23   alleged, as joint employers of Plaintiff and the proposed class and were otherwise
24   the agents, servants, and employees of each and every one of the other
25   Defendants, as well as the agents of all Defendants, and at all times mentioned
26   herein, were acting within the course and scope of said agency and joint
27   employment.
28

                                              2                      ____________
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 1        6.      At all times mentioned herein, Defendants, and each of them, were
 2   members of, and engaged in, a joint venture, joint employer, partnership and
 3   common enterprise, and acting within the course and scope of, and in pursuance
 4   of said joint venture, partnership and common enterprise.
 5        7.      At all times herein mentioned, the acts and omissions of various
 6   Defendants, and each of them, occurred with and contributed to the various acts
 7
     and omissions of each and every one of the other Defendants in proximately
 8
     causing the complaints, injuries and damages alleged herein.
 9
          8.      At all times mentioned herein, Defendants, and each of them,
10
     approved of, condoned and/or otherwise ratified each and every one of the acts or
11
     omissions complained of herein. At all times herein mentioned, Defendants, and
12
     each of them, aided and abetted the acts and omissions of each and every one of
13
     the other Defendants, thereby proximately causing the damages as alleged.
14
          9.      The true names and capacities, whether individual, corporate,
15
     associate, or otherwise, of Defendants sued here in as DOES 1 through 10,
16
     inclusive, are currently unknown to plaintiff, who therefore sues Defendants by
17
     such fictitious names under Code of Civil Procedure section 474. Plaintiff is
18
     informed and believes, and based thereon alleges, that Defendants designated
19
     herein as a DOE is legally responsible in some manner for the unlawful acts
20
     referred to herein. Plaintiff will seek leave of court to amend this complaint to
21
     reflect the true names and capacities of the Defendants designated hereinafter as
22
     DOES when such identities become known.
23
                            II.   GENERAL ALLEGATIONS
24
          10.     Plaintiff worked as a information technology (“IT”) technician for
25
     Defendants from approximately October of 2018 to October of 2019, for
26
     Defendants
27
          11.     Defendant Patriot placed Plaintiff on an assignment to work as an IT
28

                                               3                       ____________
     COMPLAINT
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 1   technician at Paramount.
 2        12.     From October 2018 through October 2019, Plaintiff worked overtime
 3   for Defendants approximately three times per week. Plaintiff was not paid for this
 4   overtime work.
 5        13.     Plaintiff recorded his overtime hours on Defendants online system
 6   where employees’ hours were gathered and tabulated for payroll purposes.
 7
          14.     Plaintiff alleges he was not paid for his overtime work for
 8
     Defendants. Defendants failed to pay wages, including overtime, and failed to
 9
     reimburse Plaintiff for business expenses, and mileage.
10
          15.     Plaintiff is entitled to regular pay, plus overtime pay for each
11
     overtime hour worked traveling to, from, and working for Defendants.
12
          16.     Plaintiff was also required to be “on call” and available to assist with
13
     any technical issues that arose for Defendant Paramount. Plaintiff alleges he was
14
     not paid for his “on call” time.
15
          17.     Plaintiff and the class he seeks to represent are entitled to regular pay,
16
     plus overtime pay for each hour worked traveling to and from, preparing for and
17
     on call time during for services performed for Defendants. Plaintiff alleges he and
18
     the proposed class were not properly paid, or paid at all for performing “on call”
19
     and overtime work for Defendants.
20
          18.     Plaintiff alleges he and the proposed class frequently worked 10 hour
21
     days, and Defendants failed to pay legal and proper wages, including overtime to
22
     Plaintiff and the proposed class.
23
          19.     Defendants and/or their managing agents, employees, owners,
24
     shareholders, superintendents, managers, or persons acting on their behalf,
25
     willfully, intentionally, recklessly, and unlawfully forced the unlawful practices
26
     alleged herein on Plaintiff. At times when Plaintiff and the proposed class
27
     performed services for Defendants, both Defendants were acting as Plaintiff’s
28

                                               4                        ____________
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 1   joint employer.
 2        20.     Defendants’ denial of legal compensation due to Plaintiff was a
 3   breach of Defendants’ fiduciary duty to Plaintiff, as the denial was deliberate and
 4   showed a callous disregard for the rights of Plaintiff, who relied on Defendants to
 5   compensate them fairly.
 6        21.     Defendants have made it difficult to account with precision for the
 7
     unlawfully withheld wages and deductions due to Plaintiff during the Liability
 8
     Period because Defendants did not implement and preserve a record keeping
 9
     method to record all the unlawful deductions by its employees as required for non-
10
     exempt employees by California Labor Code sections 226, 1174(d), and section 7
11
     of the California Wage Orders.
12
          22.     On information and belief, Defendants have failed to comply with
13
     Labor Code section 226(a) by failing/refusing to itemize in wage statements all
14
     deductions from payment of wages by failing/refusing to accurately report total
15
     hours worked by Plaintiff. Plaintiff is entitled to penalties not to exceed $4,000
16
     each pursuant to Labor Code section 226(b).
17
          23.     On information and belief, Defendants have failed to comply with
18

19
     Industrial Welfare Commission IWC Wage Order 5-2001(7) by, among other

20   violations, failing to maintain time records showing: (a) when the employee begins

21   and ends each work period, and (b) by itemizing in wage statements all deductions
22   from payment of wages with accurate reporting of total hours worked by Plaintiffs.
23        24.     Plaintiffs are covered by the California Industrial Welfare
24   Commission Occupational Wage Order Nos. 5-2001, 5-1998, California Industrial
25   Welfare Commission in No. 4 (Title 8 Cal. Code of Reg. sections 11040, 11070),
26   and the Labor Code.
27        25.     On January 23, 2020, Plaintiff sent a notice of PAGA claims to
28

                                               5                       ____________
     COMPLAINT
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 1   Defendants and the California Labor and Workforce Development Agency
 2   (LWDA).
 3                  III.   CLASS DEFINITION AND ALLEGATION
 4
          26.     Plaintiffs seek to represent the following class pursuant to Federal
 5
     Rule of Civil Procedure Rule 23:
 6
                  All persons in the United States who have worked for Defendants,
 7
                  as an IT technician at Paramount Pictures in California within
 8
                  the last 4 years, and continuing.
 9
                  Plaintiff reserves the right to amend this class definition.
10
                               IV.   CLASS ALLEGATIONS
11

12
          27.     Numerosity. The members of the proposed class are so numerous

13
     that their individual joinder is impracticable. Plaintiffs are informed and believe,

14
     and on that basis allege, that the proposed class contains hundreds of thousands of

15
     members. The precise number of proposed class members is unknown to

16   Plaintiffs. The true number of the proposed class is known by the Defendants,

17   however, and thus, may be notified of the pendency of this action by first class

18   mail, electronic mail, and by published notice.
19        28.     Existence and Predominance of Common Questions of Law and
20   Fact. Common questions of law and fact exist as to all members of the proposed
21   class and predominate over any questions affecting only individual proposed class
22   members. These common legal and factual questions regarding, among other
23   things, whether Plaintiffs and the class they seek to represent were/ are
24   misclassified and are in fact non-exempt hourly sales people, whether the outside
25   sales exception applies here, and whether and how much Defendants owe
26   Plaintiffs and the proposed class in unpaid wages, fees, costs, and other damages
27   and/or penalties, and also involve the following class questions:
28

                                               6                         ____________
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 1           (a) what were and are the policies, programs, practices, procedures and
 2           protocols of Defendants regarding Plaintiffs and the proposed class
 3           members’ actual work and tasks and their job duties irrespective of job
 4
             titles;
 5
             (b) whether Defendants are and were subject to overtime requirements
 6
             contained in the California IWC Wage Orders and other California law
 7
             with respect to Plaintiffs and the proposed class pursuant to Labor Code
 8
             section 510, and Wage Order No. 4-2001 for the period commencing four
 9
             years prior to the date of the filing of this Complaint and continuing
10
             through the date of judgment.
11
             (c) whether Defendants’ policy and practice of classifying Plaintiffs and
12
             the proposed class as exempt from overtime entitlement under California
13
             law and Defendants’ policy and practice of failing to pay overtime to the
14
             proposed class violates applicable provisions of California law, including
15

16
             applicable statutory and regulatory authority;

17           (d) whether Defendants unlawfully failed to pay overtime compensation

18           in violation of the California Unfair Competition Law, Cal. Bus. & Prof.
19           Code § 17200, et seq., and the California Labor Code and related
20           regulations, Cal Labor Code §§ 201, 202, 203, 226, 510, 1174, 1174.5, and
21           1194, the applicable Cal. Wage Orders;
22           (e) whether Defendants violated California law by their policies,
23           programs, practices, procedures and protocols regarding rest periods for
24           Plaintiffs and the proposed class;
25           (f) what were and are the policies, programs, procedures and protocols of
26           Defendants regarding furnishing Plaintiffs and the proposed class, upon
27           payment of wages, itemized statements required by Labor Code § 226.
28

                                              7                       ____________
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 1              (g) whether Defendants violated Business & Professions Code sections
 2              17200 et seq., by their policies, programs, practices, procedures and
 3              conduct referred to in this cause of action;
 4
                (h) whether Plaintiffs and the proposed class are entitled to injunctive
 5
                relief.
 6
          29.        Typicality. Plaintiff’s claims are typical of the claims of the proposed
 7
     class.
 8
          30.        Adequacy of Representation. Plaintiff will fairly and adequately
 9
     protect the interests of the members of the proposed class. Plaintiffs have retained
10
     counsel experienced in complex consumer class action litigation. Plaintiffs intend
11
     to prosecute this action vigorously. Plaintiffs have no adverse or antagonistic
12
     interests to those of the proposed class.
13
          31.        Superiority. A class action is superior to all other available means for
14
     the fair and efficient adjudication of this controversy. The damages or other
15
     financial detriment suffered by individual proposed class members is relatively
16
     small compared to the burden and expense that would be entailed by individual
17
     litigation of their claims against the defendant. It would thus be virtually
18
     impossible for the class, on an individual basis, to obtain effective redress for the
19

20
     wrongs done to them. Furthermore, even if proposed class members could afford

21   such individualized litigation, the court system could not. Individualized litigation

22   would create the danger of inconsistent or contradictory judgments arising from the
23   same set of facts. Individualized litigation would also increase the delay and
24   expense to all parties and the court system from the issues raised by this action. By
25   contrast, the class action device provides the benefits of adjudication of these
26   issues in a single proceeding, economies of scale, and comprehensive supervision
27

28

                                                  8                       ____________
     COMPLAINT
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 1   by a single court, and presents no unusual management difficulties under the
 2   circumstances here.
 3

 4
                                 IV. CAUSES OF ACTION
 5
                               FIRST CAUSE OF ACTION
 6
                         Violation of the Fair Labor Standards Act
 7                           (“FLSA,”29 U.S.C .§ 201, et seq.)
 8
          32.     Plaintiff re-alleges and incorporates by this reference each of the
 9
     foregoing paragraphs as if fully set forth herein.
10
          33.     Plaintiff worked for Defendants without receiving the minimum wage
11

12
     for all hours worked, under 29 U.S.C. § 206(a). That Section provides the

13
     following: “Every employer shall pay to each of his employees who in any

14   workweek is engaged in commerce or in the production of goods for commerce, or

15   is employed in an enterprise engaged in commerce or in the production of goods
16   for commerce, wages at the [minimum wage].”
17        34.     Plaintiff alleges Defendants required Plaintiff, as part of his
18   employment, to work without additional compensation, such as overtime pay in
19   excess of the forty hours per week maximum under 29 U.S.C. § 207(a)(1). That
20   Section provides the following: “Except as otherwise provided in this section, no
21   employer shall employ any of his employees for a workweek longer than forty
22   hours unless such employee receives compensation for his employment in excess
23   of the hours above specified at a rate which is not less than one and one-half times
24   the regular rate at which he is employed.”
25
          35.      Plaintiff alleges Defendants required Plaintiff, as part of his
26
     employment, to work without compensation for all hours worked, to work beyond
27
     forty hours per week without the payment of overtime compensation therefore
28

                                               9                        ____________
     COMPLAINT
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 1    and/or to work at a wage less than the minimum wage, pursuant to, inter alia, 29
 2    U.S.C. §§ 206 and 207(a)(1).
 3
           36.     Plaintiff’s FLSA claims are brought not only for alleged overtime
 4
      violations, but also for alleged off-the-clock and minimum wage violations as well.
 5
      Indeed, in the performance of his duties for Defendants, Plaintiff often did work
 6
      over forty hours per week, yet did not receive straight or overtime compensation
 7
      for the work, labor and services they provided to Defendants, as required by the
 8
      FLSA. The precise number of unpaid overtime hours will be proven at trial.
 9
           37.     Defendants' violations of the FLSA were willful and are ongoing. As a
10
      result of the foregoing, Plaintiff seeks judgment against Defendants for unpaid
11
      wages, including overtime wages owed by Defendants pursuant to 29 U.S.C. §§
12

13
      206 and 207, together with an award of an additional equal amount as liquidated

14
      damages, and costs, interests, and reasonable attorneys’ fees, pursuant to, inter alia,

15    29 U.S.C. § 216(b).

16                             SECOND CAUSE OF ACTION
17                Failure to Pay Wages, Labor Code §§ 1194, 1197 and 1197.1
                                  (Unpaid Minimum Wages)
18

19         38.      Plaintiff re-alleges and incorporates by this reference each of the
20    foregoing paragraphs as if set forth herein.
21         39.     Defendants illegally failed to pay wages and/ or overtime wages, and
22    in so doing, Defendants willfully violated the provisions of Labor Code sections
23    510, 1194, 1198, 1199, IWC Wage Order and California Code of regulations,
24    Title 8, section 11160(3).
25         40.     Plaintiff seeks all actual, consequential and incidental losses and
26    damages, according to proof, and also, penalties of $100.00 for the initial failure
27    to timely pay minimum wages and $250.00 for each subsequent failure to pay
28

                                                10                       ____________
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 1    minimum wages pursuant to California Labor Code section 1197.1, liquidated
 2    damages in an amount equal to the wages unlawfully unpaid and interest thereon
 3    pursuant to California Labor Code section 1194.2 and all unpaid wages and civil
 4    penalties pursuant to California Labor Code section 2699(g) and (g) and 558 in an
 5    amount of one hundred dollars ($100) for each violation per pay period for the
 6    initial violation and two hundred dollars ($200) per pay period for each
 7
      subsequent violation, plus costs and attorneys’ fees for violation of California
 8
      Labor Code section 1198.
 9
                                THIRD CAUSE OF ACTION
10
                            Failure to Pay Overtime Wages
11     (Labor Code §§ 510, 1194, 1198, and 1199, IWC Wage Orders, and Related
                                       Violations)
12

13         34.     Plaintiff re-alleges and incorporates by this reference each of the
14
      foregoing paragraphs as if set forth herein.
15

16         35.     Defendants illegally failed to pay overtime wages, and in so doing,

17    Defendants willfully violated the provisions of Labor Code sections 510, 1194,
18
      1198, 1199, IWC Wage Orders, and California Code of regulations, Title 8,
19

20    section 11160(3).
21
           36.     California law requires employers to pay overtime compensation to
22
      all non-exempt employees for all hours worked over eight in a day or forty per
23

24    week for overtime and over twelve in a day for double-time.
25
           37.     As a direct and proximate result of Defendants’ unlawful conduct, as
26

27
      set forth herein, Plaintiff has sustained damages, including loss of compensation

28

                                                11                      ____________
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 1    for overtime worked on behalf of Defendants in an amount to be established at
 2
      trial, prejudgment interest, and costs and attorney’s fees, pursuant to statute and
 3

 4    other applicable law.
 5         38.     Plaintiff alleges Defendants are liable to Plaintiff for actual damages,
 6
      statutory damages, and attorneys’ fees and costs.
 7

 8                             FOURTH CAUSE OF ACTION
 9
                                  Wage Statements Violations
10                                  (Labor Code §226(a))
11
           39.     Plaintiff re-alleges and incorporates by this reference each of the
12

13
      foregoing paragraphs as if fully set forth herein.

14         40.     Section 226(a) of the California Labor Code requires Defendants to
15
      itemize all wage statements deductions from payment of wages and to accurately
16

17    report total hours worked by Plaintiff. Defendants have knowingly and
18    intentionally failed to comply with Labor Code section 226(a) on each and every
19
      wage statement provided to Plaintiff.
20

21         41.     California Labor Code § 226(a) sets forth reporting requirements for
22
      employers when they pay wages: Every employer shall at the time of each
23

24
      payment of wages, furnish each of his or her employees an accurate itemized

25    statement in writing showing (1) gross wages earned, (2) total hours worked, (3)
26
      the number of piece rate units worked or earned, (4) all deductions, (5) net wages
27

28    earned, (6) the inclusive dates for the period paid, (7) partial social security

                                                 12                       ____________
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 1    number, (8) the name and address of the legal entity that is the employer, and (9)
 2
      all applicable hourly rates in effect during the pay period and the corresponding
 3

 4    number of hours worked at each hourly rate by the employee.
 5         42.     As a consequence of Defendants knowing and intentional failure to
 6
      comply with Labor Code section 226(a), Plaintiff is entitled to actual damages or
 7

 8    penalties not to exceed $4,000.00 pursuant to Labor Code section 226(b), together
 9
      with interest thereon and attorneys’ fees and costs.
10
           43.     Plaintiff alleges Defendants are liable to Plaintiff for actual damages,
11

12    statutory damages, and attorneys’ fees and costs.
13
                                FIFTH CAUSE OF ACTION
14

15                    Failure to Pay Wages of Terminated Employees
                                  (Labor Code § 201-203)
16

17         44.     Plaintiff re-alleges and incorporates by this reference each of the
18    foregoing paragraphs as if fully set forth herein.
19
           45.     As of the filing of the Complaint, Defendants failed to timely pay
20

21    wages due, and Plaintiff is owed penalties pursuant to Labor Code sections 201,
22
      202, 203.
23

24
           46.     Defendants failed to pay Plaintiff without abatement, all wages owed

25    to Plaintiff (as defined by applicable California law) within the time required by
26
      applicable California law. Among other things, these employees were never paid
27

28    any of the overtime compensation referred to in this Complaint, nor were they

                                                13                      ____________
      COMPLAINT
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 1    paid the other unpaid wages referred to in this Complaint. Defendants’ failure to
 2
      pay said wages within the required time was willful within the meaning of Labor
 3

 4    Code section 203.
 5         47.     Therefore, each of these employees is entitled to one day’s wages for
 6
      each day he or she was not timely paid all said wages due, up to a maximum of
 7

 8    thirty days’ wages for each employee. Because none of said employees were ever
 9
      paid the overtime wages to which they were entitled, and were never paid other
10
      unpaid wages referred to in this Complaint, each of said employees is entitled to
11

12    thirty days’ wages.
13
           48.     Plaintiff alleges Defendants are liable to Plaintiff for actual damages,
14

15    statutory damages, and attorneys’ fees and costs.
16                                   SIXTH CAUSE OF ACTION
17
                            Violations of the Unfair Competition Law
18
                              (Bus. & Prof. Code, §§ 17200-17208)
19         49.     Plaintiff re-alleges and incorporates by this reference each of the
20
      foregoing paragraphs as if fully set forth herein.
21

22         50.     Defendants’ policy and practices alleged herein resulted in the
23
      Defendants’ failure to pay for all working hours, failure to pay overtime, failure to
24
      pay under the terms of the employment agreement, and as mandated by law.
25

26    Defendants have violated IWC Wage Orders and California Labor Code by
27
      engaging in the violations alleged herein, which may be discovered in the course
28

                                                14                      ____________
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 1    of litigation, and which constitute unlawful activity prohibited by Business and
 2
      Professions Code section 17200 et seq.
 3

 4         51.     The actions of Defendants in failing to pay Plaintiff in a lawful
 5    manner constitutes false, unfair, fraudulent and deceptive business practices,
 6
      within the meaning of Business and Professions Code, sections 17200, et. seq.
 7

 8         52.     Plaintiff is entitled to an injunction, specific performance under
 9
      Business and Professions Code, section 17202, and/or other equitable relief
10
      against such unlawful practices in order to prevent future loss, for which there is
11

12    no adequate remedy at law. Plaintiff brings this cause individually subject to
13
      Defendants’ unlawful acts and practices.
14

15         53.     As a result of Defendants’ unlawful acts, Defendants have reaped and
16    continue to reap unfair benefits at the expense of Plaintiff. Defendants should be
17
      enjoined from this activity, caused to specifically perform their obligations, and
18

19    made to disgorge these ill-gotten gains, and restore to Plaintiff of the public
20
      wrongfully withheld wages and/or other moneys pursuant to Business and
21
      Professions Code, sections 17200 et seq. Plaintiff is informed and believes, and
22

23    on that basis alleges, that Defendants are unjustly enriched through their failure to
24
      provide wages and overtime wages to Plaintiff.
25

26         54.     Plaintiff is informed and believes, and on that basis alleges, that

27    Plaintiff was prejudiced by Defendants’ unfair trade practices.
28

                                                 15                      ____________
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 1         55.     As a direct and proximate result of the unfair business practices of
 2
      Defendants, and each of them, Plaintiff is entitled to equitable and injunctive
 3

 4    relief, including full restitution, specific performance, and/or disgorgement of all
 5    wages which have been unlawfully withheld from Plaintiff as a result of the
 6
      business acts and practices herein, and enjoining of Defendants to cease and desist
 7

 8    from engaging in the practices described herein.
 9
           56.     The illegal conduct alleged herein is continuing and there is no
10
      indication that Defendants will discontinue such activity in the future. Plaintiff
11

12    alleges that if Defendants is not enjoined from the conduct set forth in this
13
      Complaint, Defendants will continue to fail to pay wages owed.
14

15         57.     Plaintiff further requests that the court issue a preliminary and
16    permanent injunction prohibiting Defendants from continuing to fail to pay all
17
      wages owed.
18

19         58.     Plaintiff alleges Defendants are liable to Plaintiff for actual damages,
20
      statutory damages, and attorneys’ fees and costs.
21
                              SEVENTH CAUSE OF ACTION
22

23                                         Injunction
24
           59.     Plaintiff incorporates all previous paragraphs of this complaint as
25

26    though fully set forth herein.

27

28

                                                16                       ____________
      COMPLAINT
     Case 2:20-cv-01210-PA-AGR Document 1 Filed 02/06/20 Page 17 of 20 Page ID #:17



 1         60.     Plaintiff seeks injunctive relief to prohibit the continuing unlawful
 2
      acts alleged herein.
 3

 4         61.     Defendants’ practices caused Plaintiff to suffer damages, and
 5    continue to cause wage and hour damages, fees and costs to members of the
 6
      proposed class who currently still work for Defendants.
 7

 8         62.     Plaintiff seeks to enjoin Defendant from continuing their ongoing
 9
      wage and hour violations at Defendants’ and Defendants’ client’s places of
10
      business.
11

12         63.     Plaintiff does not have a plain, speedy, and adequate remedy in the
13
      ordinary course of law, other than the requested injunctive relief.
14

15                             EIGHTH CAUSE OF ACTION
16                     Violation of the Private Attorneys General Act
17                                 (Labor Code §§ 2698)
18         64.     Plaintiff re-alleges and incorporates by this reference each of the
19
      foregoing paragraphs as if fully set forth herein.
20

21         65.     As a result of the acts alleged above, Plaintiff seeks penalties under
22
      all Labor Code Sections, including but not limited to, 201, 202, 203, 226, 226.7,
23

24
      226.8, 510, 512, 1174, 1175, 1182.12, 1194, 1197, 1197.1, 1198, 1199, and 2802.

25         66.     For each such violation, Plaintiff is entitled to penalties in an amount
26
      to be shown at the time of trial subject to the following formula.
27

28                    1. For $100 for the initial violation per pay period.

                                                17                         ____________
      COMPLAINT
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 1                    2. For $200 for each subsequent violation per pay period.
 2
           67.     These PAGA penalties shall be allocated 75% to the Labor and
 3

 4    Workforce Development Agency (“LWDA”) and 25% to the affected employee.
 5         68.     Plaintiff filed a PAGA complaint online with the LDWA on or about
 6
      October 22, 2019, and served Defendant by certified mail as prescribed by the
 7

 8    Labor Code. Plaintiff seeks penalties as though the LWDA decided not to
 9
      investigate pursuant to Labor Code §2699.3(a)(2)(A).
10
           69.     Defendant has violated and continues to violate Labor Code sections
11

12    201, 202, 203, 226, 226.7, 226.8, 510, 512, 1174, 1175, 1182.12, 1194, 1197,
13
      1197.1, 1198, 1199, and 2802 as it pertains to Plaintiff.
14

15         70.     Plaintiff requests relief as described in the Prayer alleged supra,
16    herein.
17
                                               IV.
18
                                   PRAYER FOR RELIEF
19
            Plaintiff prays as follows:
20

21          1. That the Court determine that the failure of the Defendant to pay
22    compensation to the Plaintiff be adjudged and decreed to violate the applicable
23    IWC Wage Orders, regulations and statutes;
24          2. That the Defendant be ordered to pay and judgment be entered for wages
25    for Plaintiff according to proof;
26          3. That the Defendant be ordered to pay and judgment be entered for
27    overtime wages, to Plaintiff according to proof;
28

                                                18                      ____________
      COMPLAINT
     Case 2:20-cv-01210-PA-AGR Document 1 Filed 02/06/20 Page 19 of 20 Page ID #:19



 1          4. That the Defendant be ordered to pay and judgment be entered for
 2    liquidated damages under Labor Code section 1194.2 to Plaintiff according to
 3    proof:
 4          5. That the Defendant be ordered to pay and judgment be entered for Labor
 5    Code section 226 penalties to Plaintiff according to proof;
 6          6. That the Defendant be ordered to pay and judgment be entered for Labor
 7
      Code section 226(f) penalties to Plaintiff according to proof;
 8
            7. That the Defendant be ordered to pay and judgment be entered for Labor
 9
      Code section 203 penalties to Plaintiff according to proof;
10
            8. That the Defendant be found to have engaged in unfair competition in
11
      violation of Business and Professions Code, section 17200;
12
            9. That the Defendant be ordered and enjoined to pay restitution to Plaintiff
13
      due to the Defendant’s unlawful and unfair competition, including disgorgement
14
      of their wrongfully obtained profits, wrongfully withheld wages according to
15
      proof, and interest thereon pursuant to Business and Professions Code, sections
16
      17203 and 17204;
17
            10.That Defendant be enjoined from further acts of unfair competition and
18
      specifically from failing to pay compensation to Plaintiff;
19
            11.That Plaintiff be awarded Attorneys’ fees and costs pursuant to statute,
20
      including but not limited to Labor Code, section 1194 and Code of Civil
21
      Procedure, section 1021.5;
22
            12.Otherwise determine the appropriate remedy to compensate Plaintiff, as
23
      required to promote fairness and justice, including but not limited to establishing
24
      procedures for compensation, compensation amounts and fluid recovery if
25
      appropriate;
26
            13.Prejudgment Interest; and
27
            14.Any other relief this court deems proper.
28

                                                19                      ____________
      COMPLAINT
     Case 2:20-cv-01210-PA-AGR Document 1 Filed 02/06/20 Page 20 of 20 Page ID #:20



 1    DATED: February 6, 2020            HAMNER LAW OFFICES, APLC
 2

 3

 4                                       _______________________________
                                         By: Christopher J. Hamner, Esq.
 5                                       Attorneys for Plaintiff Anthony Shelton, and
 6                                       the proposed class
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      COMPLAINT
